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United States District Court

NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

Boland Marine & Industrial, LLC
Plaintiff,
V. CIVIL ACTION NO. 3:20-cv-0536-S
Bouchard Transportation Co., Inc.,
Defendant,

and

Bank of America, National Association

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Garnishee.

ORDER

This Order Addresses Plaintiff Boland Marine & Industrial, LLC’s Motion for Order for
Issuance of Process of Maritime Attachment and Garnishment [ECF No. 3]. For the reasons stated
in the Verified Complaint [ECF No. 1] the Court finds that the conditions required by Rule B(1)
of the Supplemental Rules of the Federal Rules of Civil Procedure exist and the Court grants the
Motion.

The Court orders that the Clerk of this Court is authorized to issue the Process of Maritime
Attachment and Garnishment against all assets, cash, funds, credits, wire transfers, accounts,
letters of credit, electronic fund transfers, freights, sub-freights, charter hire, sub-charter hire, or
any other tangible and/or intangible assets belonging to, due, claimed by, being held for or on
behalf of, or being transferred for the benefit of Defendant, including, but not limited to any such
assets as may be in the possession, custody or control of, or being transferred through any garnishee

within this District, including, without limitation, assets held by or at Garnishee Bank of America,

 

 
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National Association, and said Order being equally applicable with respect to the issuance and
service of additional Writs of Maritime Attachment and Garnishment upon any garnishees in this
district not named herein, in an amount up to an including $1,731,799.92 pursuant to Rule B of
the Supplemental Rules for Certain Admiralty and Maritime Claims of the Federal Rules of Civil
Procedure; further,

The Court orders that any person claiming an interest in the property attached or garnished
pursuant to said Order shall, upon application to the Court, be entitled to a prompt hearing at which
the Plaintiff shall be required to show why the garnishment should not be vacated or other relief
granted; further,

The Court orders that supplemental process enforcing the Court's Order may be issued by
the Clerk upon application without further Order of the Court; further,

The Court orders that following initial service by the United States Marshal or other
designated process server upon each garnishee, supplemental service of the Process of Maritime
Garnishment, as well as this Order, may be made by way of facsimile transmission or email to
each garnishee; further,

The Court orders that service on any garnishee as described above is deemed continuous
throughout the day from the time of such service through the opening of the garnishee's business
the next business day; further,

The Court orders that pursuant to Federal Rule of Civil Procedure 5(b)\(2)(D) each
garnishee may consent, in writing, to accept service by any other means; further,

The Court orders that a copy of this Order be attached to and served with the said Process

of Maritime Attachment and Garnishment,

 

 
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SO ORDERED.

SIGNED March 4 é, 2020.

  

 

KAREN GREN SCHOLER
UNITED STATES DISTRICT JUDGE

 
